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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x

UNITED STATES OF AMERICA,                            :    17-Cr-201 (SHS)

                 -v-                                 :    ORDER

CARL MORRIS,                                         :

                          Defendant.                 :

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SIDNEY H. STEIN, U.S. District Judge.

       The Court is in receipt of defendant’s letter dated October 13, 2020, requesting an
adjournment of the sentencing scheduled for November 18, 2020, the government’s letter in
response dated October 16, 2020 [Doc. No. 12], and the defendant’s letter in reply dated October
19, 2020. The defense has been requesting adjournments for a considerable period of time.
        IT IS HEREBY ORDERED that:
      1.      The sentencing is adjourned to January 7, 2021, at 11:00 a.m. The defense
submissions are due by November 23, 2020, the government’s submissions are due by
November 30, 2020; and
        2.       No further requests for adjournments will be granted.
Dated: New York, New York
       October 19, 2020
